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                                                                         USDC SDNY
UNITED STATES DISTRICT COURT                                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                            ELECTRONICALLY FILED
 -------------------------------------------------------------------X   dDOC #: _________________
                                                                    :    DATE FILED: February 28, 2018
 DANIEL RIVERA,                                                     :
                                                                    :
                                              Plaintiff,            :
                                                                    :
                            -v-                                     :
                                                                    :
 HOME DEPOT U.S.A. INC.,                                            :          16-cv-7552 (KBF)
                                                                    :
         Defendant and Third-Party Plaintiff,                       :        OPINION & ORDER
                                                                    :
                                                                    :
                            -v-                                     :
                                                                    :
 BRYAN’S HOME IMPROVEMENT CORP.,                                    :
                                                                    :
                             Third-Party Defendant.                 :
                                                                    :
 -------------------------------------------------------------------X
KATHERINE B. FORREST, District Judge:

        On August 22, 2015, Daniel Rivera (“Rivera” or “plaintiff”) fell from a ladder

during the course of his employment in Yonkers, New York. This action concerns

whether and to what extent either of the contracting entities involved in Rivera’s

employment—Home Depot U.S.A. Inc. (“Home Depot”) and Bryan’s Home

Improvement Corp. (“BHIC”)—are liable for his resulting injuries.

        By Memorandum Decision & Order dated February 27, 2018, the Court

denied BHIC’s motion for summary judgment, concluding that BHIC had failed to

demonstrate that Rivera did not suffer a “grave injury” as a matter of law. (ECF

No. 69.) Currently before the Court is Rivera’s affirmative motion for partial

summary judgment filed January 8, 2018. (ECF No. 44.) Rivera argues, in sum,
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that Home Depot violated New York Labor Law §§ 240(1) and 241(6) by failing to

adequately ensure the safety of Rivera’s elevated worksite, and is therefore liable

for his resulting injuries. (See generally Mem. of Law (“Rivera Mem.”), ECF No.

45.) Home Depot opposed Rivera’s motion on February 15, 2018 (ECF No. 61), and

Rivera replied on February 17, 2018 (ECF No. 64).

          It is rare for a personal injury plaintiff to prevail on a motion for summary

judgment; typically, there are numerous issues of material fact that necessitate

trial. The plaintiff in this case, however, has succeeded in demonstrating that no

material facts are sufficiently disputed. Accordingly, Rivera’s motion must be

GRANTED.1

I.        LEGAL PRINCIPLES

          It is well established that summary judgment may be granted when a movant

shows, based on admissible evidence in the record, “that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The moving party bears the burden of demonstrating “the

absence of a genuine issue of material fact,” Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986), and the Court must construe all evidence in the light most favorable to

the nonmoving party, drawing all inferences and resolving all ambiguities in its

favor, Dickerson v. Napolitano, 604 F.3d 732, 740 (2d Cir. 2010).

          The statutes at issue here are New York Labor Law §§ 240(1) and 241(6).

Section 240(1), referred to by the parties as the “Scaffold Law,” imposes absolute



1   The issue of damages remains to be decided.


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liability on contractors for failure to adequately protect workers in elevated

worksites:

      All contractors and owners and their agents . . . in the erection, demolition,
      repairing, altering, painting, cleaning or pointing of a building or structure
      shall furnish or erect, or cause to be furnished or erected for the performance
      of such labor, scaffolding, hoists, stays, ladders, slings, hangers, blocks,
      pulleys, braces, irons, ropes, and other devices which shall be so constructed,
      placed and operated as to give proper protection to a person so employed.

N.Y. Lab. Law § 240(1) (emphasis added). The “core premise” of § 240(1) is “that a

defendant’s failure to provide workers with adequate protection from reasonably

preventable, gravity-related accidents will result in liability.” Wilinski v. 334 E.

92nd Hous. Dev. Fund Corp., 18 N.Y.3d 1, 7 (2011). To prevail on a § 240(1) claim,

plaintiff must demonstrate (1) that defendant failed to adequately secure an

elevated worksite within the meaning of the statute, and (2) that failure

proximately caused some injury. Id.; see also Rocovich v. Consol. Edison Co., 78

N.Y.2d 509, 513 (1991).

      Section 241(6), which relates to “[a]ll areas in which construction, excavation

or demolition work is being performed,” provides that such areas “shall be so

constructed, shored, equipped, guarded, arranged, operated and conducted as to

provide reasonable and adequate protection and safety to the persons employed

therein or lawfully frequenting such places.” N.Y. Lab. Law § 241(6) (emphasis

added). The statute further provides that “[t]he commissioner may make rules to

carry into effect the provisions of this subdivision,” and that covered entities “shall

comply therewith.” Id.




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      The New York Court of Appeals has held that § 241(6) thus requires general

contractors to “comply with the specific safety rules and regulations promulgated by

the Commissioner of the Department of Labor.” Ross v. Curtis-Palmer Hydro

Electric Co., 81 N.Y.2d 494, 501-02 (1993). To prevail on a § 241(6) claim, plaintiff

must demonstrate that defendant breached a “concrete specification[]” of the

relevant Industrial Code as opposed to general common-law principles, which are

better left to § 200(1) or some other statute. Id. at 503-04. Here, plaintiff has

alleged that Home Depot violated 12 NYCRR §§ 23-1.21(b)(4)(iv), 1.13(b)(3), and

1.13(b)(4), all of which are reproduced in relevant part below:

          12 NYCRR § 23-1.21(b)(4)(iv): “When work is being performed from ladder
           rungs between six and 10 feet above the ladder footing, a leaning ladder
           shall be held in place by a person stationed at the foot of such ladder
           unless the upper end of such ladder is secured against side slip by its
           position or by mechanical means. When work is being performed from
           rungs higher than 10 feet above the ladder footing, mechanical means for
           securing the upper end of such ladder against side slip are required and
           the lower end of such ladder shall be held in place by a person unless such
           lower end is tied to a secure anchorage or safety feet are used.”

          12 NYCRR § 23-1.13(b)(3): “Investigation and Warning. Before work is
           begun the employer shall ascertain by inquiry or direct observation, or by
           instruments, whether any part of an electric power circuit, exposed or
           concealed, is so located that the performance of the work may bring any
           person, tool or machine into physical or electrical contact therewith. The
           employer shall post and maintain proper warning signs where such a
           circuit exists. He shall advise his employees of the locations of such lines,
           the hazards involved and the protective measures to be taken.”

          12 NYCRR § 23-1.13(b)(4): “Protection of employees. No employer shall
           suffer or permit an employee to work in such proximity to any part of an
           electric power circuit that he may contact such circuit in the course of his
           work unless the employee is protected against electric shock by de-
           energizing the circuit and grounding it or by guarding such circuit by
           effective insulation or other means.”




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         As relevant here, a general contractor’s obligations pursuant to §§ 240(1) and

241(6) are non-delegable. See Ross, 81 N.Y.2d at 500, 502. Accordingly, plaintiff

need not demonstrate that Home Depot exercised any control or supervision over

the worksite in order to establish liability or prevail at the summary judgment

stage.

II.      DISCUSSION

         Having reviewed the parties’ respective submissions, the cited evidence, and

the applicable law, the Court concludes that Rivera’s motion for partial summary

judgment must be GRANTED for the reasons stated below.

         A.    § 240(1)

         It is undisputed that on August 22, 2015, Rivera was electrocuted when the

metal ladder he was carrying came into contact with electrical wires connected to an

adjacent home. It is also undisputed that Home Depot was the general contractor

on the construction site, and that Rivera was directly employed through BHIC,

which was serving as a subcontractor on the project. The sole factual issues are

why Rivera fell off the ladder, and how he came into contact with the electrical

wires; both questions are important in determining Home Depot’s liability.

         Home Depot has conceded that it was not at the worksite at the time of the

incident. (Home Depot 56.1 Counterstatement ¶ 3, ECF No. 54.1.) Accordingly,

Home Depot has no independent recollection of how or why Rivera came into

contact with electrical wires. Instead, Home Depot presents three potential

versions of events revealed during discovery as evidence that there is a triable issue




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of fact. Those three versions of events are as follows (and are numbered for

purposes of this Opinion & Order):

           Situation 1: Rivera “was climbing a ladder and carrying a 12’ section of an
            aluminum extension ladder. While he was carrying this ladder to the next
            level, he struck the overhead power lines, of the home next door.” (Decl. of
            Laurie Beatus Ex. D (“OSHA Inspection Report”), ECF No. 55-6 at 18.)

           Situation 2: “[T]he ladder [that Rivera] was climbing shifted to the right
            and [Rivera] fell seven feet onto a second-floor roof. As [Rivera] fell, he
            was electrocuted when the ladder he was carrying came into contact with
            an electrical wire attached to an adjacent home.” (Home Depot 56.1
            Counterstatement ¶ 1.)

           Situation 3: Rivera “was in the process of dismounting from an unsecured
            32-foot extension ladder to the second-floor balcony level . . . of the
            Premises when the ladder he was on shifted, causing him to fall. [Rivera]
            reached out with his hand to grab onto another ladder (a 12-foot section of
            an aluminum extension ladder) that was by the balcony. The ladder he
            grabbed came into contact with energized power lines by the home and he
            was shocked, causing him to fall backwards onto the flat roof.” (Id.)

       Situations 2 and 3, both of which reflect Rivera’s own account of events (from

a deposition and interrogatory response, respectively)2, establish Home Depot’s

liability under § 240(1) as a matter of law. Both indicate that Rivera was (1)

climbing a ladder which (2) shifted and (3) caused him to fall, thereby coming into

contact with electrical wires. New York courts have repeatedly held that when an

elevated structure such as a ladder shifts during use, a plaintiff is presumptively

entitled to summary judgment on his § 240(1) claim (assuming the shift proximately

caused injuries). See, e.g., Hart v. Turner Const. Co., 30 A.D.3d 213, 214 (1st Dept.


2At one point, Home Depot argues that Rivera “has no idea how the accident occurred,” and that his
account “is based on an unidentified co-worker’s claim to having witnessed the alleged accident.”
(Home Depot. 56.1 Counterstatement ¶ 5.) If true, this would create evidentiary issues for purposes
of summary judgment. But it is clear based on a reading of Rivera’s deposition testimony (Decl. of
Laurie Beatus Ex. A, ECF No. 55-3) that he remembers all material parts of the incident—e.g., that
he was climbing an unsecured ladder when it shifted, causing him to fall and be electrocuted.


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2006). Home Depot has not proffered any evidence tending to suggest that the

ladder Rivera was using was secured or that Rivera was otherwise protected

against a fall of the type alleged here. Accordingly, neither situation, if true, is

helpful to Home Depot in attempting to defeat summary judgment.3 Home Depot’s

argument that the electrical wires, and not the unsecured ladder, actually caused

Rivera’s injuries (Home Depot Opp’n at 5) is unavailing; it is clear that the

shifting/unsecured ladder need only be the proximate cause of resulting injuries.

Here, that standard is easily met.

       Situation 1 is distinct in the sense that it does not indicate Rivera actually

fell off a ladder. This is important because if Rivera simply struck the electrical

wires while climbing the ladder, that is arguably not a “gravity-related accident”

cognizable under § 240(1). It therefore becomes necessary to examine exactly where

that version of events comes from, and whether it is sufficient to create a triable

issue of material fact.

       Situation 1 is derived from an OSHA Inspection Report (the “Report”) written

weeks after the incident occurred. But it is unclear from the face of the Report

precisely how the author came to the conclusion listed in “Accident Investigation

Summary & Findings.” (OSHA Inspection Report at 18.) The Report only includes

reference to a single interview, with BHIC President Alonzo Loja (“Loja”), who was


3Home Depot relies heavily on the argument that these two versions of events are “different” (Mem.
of Law in Opp’n (“Home Depot Opp’n”) at 3, ECF No. 61) and therefore Rivera’s allegations are not
credible enough to support summary judgment. But that argument makes no sense; not only is the
Court of the opinion that the two versions of events are roughly equivalent, both suffice to establish
that Rivera fell off an unsecured ladder when it shifted during use. See John v. Baharestani, 281
A.D.2d 114 (1st Dept. 2001). The relevant point is that Home Depot failed to contradict either
account, not that there are non-material differences between them.


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present at the time of the incident. But the Report does not explicitly state or make

clear that Loja himself testified that Rivera struck the electrical wires “on his way

up” the ladder.4 And even if the Court were to assume that Loja made that

statement, the Report does not make clear whether Loja himself was a percipient

witness or whether his statement was based on a third-party account (or pure

speculation). Put simply, it is entirely unclear how the author came to believe that

Rivera struck the electrical wires while climbing up the ladder (and not, as Rivera

has testified, when he fell off the ladder). And if the author’s conclusion is based

upon Loja or some other employee’s statement, the Report includes double and

perhaps even triple-hearsay.

       In Celotex Corp., the Supreme Court held that “the nonmoving party [need

not] produce evidence in a form that would be admissible at trial in order to avoid

summary judgment.” 477 U.S. at 324. But it is also true that “any evidence

considered on summary judgment must be reducible to admissible form,” otherwise

it would be insufficient to create a triable issue of material fact. Figueroa v. Mazza,

825 F.3d 89, 98 n.8 (2d Cir. 2016). Here, Home Depot has not done anything to

suggest there is potentially admissible evidence to support the Report’s conclusion.

And it must do so to defeat summary judgment—it is not enough to point to

hypothetical evidence or rely on the Court to think of evidence that might someday

be collected. See Grabin v. Marymount Manhattan Coll., 659 F. App'x 7, 9 (2d Cir.



4Where the Report is incorporating Loja’s statements, it clearly recites “Mr. Loja stated . . . .”
(OSHA Inspection Report at 21.) At no point does the Report indicate that Loja stated Rivera was
electrocuted while climbing up the ladder.


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2016) (sustaining grant of summary judgment after district court “ruled that

[plaintiff] could not introduce the medical evidence through her own testimony, and

[plaintiff] did not demonstrate an alternative way to introduce that evidence.”

(emphasis added).)

      To deny summary judgment on Rivera’s § 240(1) claim, the Court would have

to speculate that Home Depot could someday marshal admissible evidence to

contradict Rivera’s version of events at trial. But if Home Depot could do so, it

presumably would have done so on summary judgment. The reality is that Home

Depot has done nothing to actually contradict Rivera’s allegation that he fell and

was electrocuted when the unsecured ladder he was using shifted during use.

There are many ways Home Depot might have done so, for instance by introducing

an affidavit or deposition testimony from Loja or some other percipient witness, or

perhaps even an affidavit from an attorney stating that such testimony would be

available at trial. But it has not, and because Rivera’s account is effectively

undisputed, the Court must GRANT Rivera’s motion for summary judgment as to

his § 240(1) claim.

      B.     §241(6)

      For similar reasons, the Court must GRANT Rivera’s motion for summary

judgment with regards to § 241(6). As an initial matter, New York courts have held

that all three regulations at issue here (12 NYCRR §§ 23-1.21(b)(4)(iv), 1.13(b)(3),

and 1.13(b)(4)) contain sufficiently “concrete” specifications to sustain a violation of

§ 241(6). See, e.g., Deshields v. Carey, 69 A.D.3d 1191 (3d Dept. 2010)




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(§ 1.21(b)(4)(iv)); DelRosario v. United Nations Federal Credit Union, 104 A.D.3d

515, 516 (1st Dept. 2013) (§§ 1.13(b)(3) and 1.13(b)(4)). Therefore, if Rivera’s

undisputed version of events establishes a violation of any one of those regulations,

Rivera is entitled to summary judgment pursuant to § 241(6).

         Here, it is clear that Rivera’s version of events establishes a violation certain

regulations. First, § 1.21(b)(4)(iv) provides that when work is being performed on a

ladder six to ten feet above the ground, the ladder “shall be held in place by a

person stationed at the foot of such ladder unless the upper end of such ladder is

secured against side slip.” Further, if work is being performed higher than ten feet,

both precautions are required “unless such lower end is tied to a secure anchorage

or safety feet are used.” Rivera has testified that the ladder he fell off was

unsecured, and there is absolutely no indication that anyone was stationed at the

foot of the ladder. As such, the undisputed evidence clearly establishes a violation

of § 1.21(b)(4)(iv). See, e.g., Grant v. New York, 109 A.D.3d 961, 972 (2d Dept.

2013).

         Second, §§ 1.13(b)(3) and 1.13(b)(4) require covered parties to take certain

precautions against “electrical hazards.” Section 1.13(b)(3) requires, inter alia, that

an employer “post and maintain proper warning signs” whenever an electrical

circuit is “so located that the performance of the work may bring any person, tool or

machine into physical or electrical contact therewith.” And § 1.13(b)(4) requires,

inter alia, that “[n]o employer shall suffer or permit an employee to work in such

proximity to any part of an electric power circuit” that he may contact “unless the




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employee is protected . . . by de-energizing the circuit and grounding it or by

guarding such circuit by effective insulation or other means.” Rivera was clearly

exposed to live electrical wires in the course of his work—this action would likely

not exist if he wasn’t. Thus, Home Depot’s unsupported assertion that “[i]t is

disputable that plaintiff was subjected to the exposed power lines” is not entitled to

any weight on summary judgment. It is also clear that the circuit was not de-

energized or grounded, because Rivera unquestionably received a severe electric

shock. Therefore, regardless of whether Home Depot engaged in an investigation

regarding potential risks (there is no indication that it did) or posted warning signs

(same), there is sufficient basis to find at least a violation of § 1.13(b)(4).

       In sum, the undisputed evidence clearly establishes a violation of at least

§§ 1.21(b)(4)(iv) and 1.13(b)(4). And even though Home Depot was not exercising

supervisory authority at the construction site, its obligations under §241(6) are non-

delegable. See Ross, 81 N.Y.2d at 502. Accordingly, Rivera is entitled to summary

judgment with regards to § 241(6).

III.   CONCLUSION

       For the reasons stated above, the Court hereby GRANTS Rivera’s motion for

partial summary judgment at ECF No. 44.

       A separate Order will follow clarifying the remaining issues for trial and the

schedule for resolution.




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     The Clerk of Court is directed to close the open motion at ECF No. 44.

     SO ORDERED.

Dated:        New York, New York
              February 28, 2018

                                         _____________________________________
                                               KATHERINE B. FORREST
                                              United States District Judge




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